                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
               v.                             )       NO. 3:16-00162
                                              )       JUDGE TRAUGER
JAMES McWHORTER                               )


          DEFENDANT’S SUPPLEMENTAL SENTENCING MEMORANDUM

       Defendant James McWhorter files this supplement in order to cite a proposed amendment

to the Sentencing Guidelines that endorses the kind of variance he has requested.

       Here the guidelines recommend a sentence of 12-18 months, putting McWhorter in Zone

C. Presently, the guidelines recommend that courts can impose a split sentence for offenders

falling in Zone C – i.e., the sentence can be split between jail and a halfway house or home

confinement. Meanwhile, for offenders falling in Zone B, the guidelines recommend that courts

can impose a sentence that involves only a term in a halfway house or home confinement.

McWhorter has requested a downward variance by asking the Court to impose a Zone B

sentence instead of a Zone C sentence.

       On December 9, the Sentencing Commission issued its proposed amendments for the

coming year. Its first proposal is to “expand[] Zone B by consolidating Zones B and C.” (Ex. A,

U.S. Sentencing Commission, Proposed Amendments to the Sentencing Guidelines

(Preliminary), at 3 (Dec. 9, 2016) (excerpt only). That amendment would, in effect, simply

eradicate Zone C and its advice regarding split sentences, and it would recommend Zone B

sentences instead. The proposed amendment “is a result of the Commission’s continued study of

approaches to encourage the use of alternatives to incarceration.” Id. at 2.

                                                  1




    Case 3:16-cr-00162 Document 26 Filed 12/13/16 Page 1 of 2 PageID #: 107
       The proposed amendment endorses precisely the kind of sentence that McWhorter is

seeking: a Zone B sentence instead of a Zone C sentence. He asks that the Court take into

consideration – along with his other arguments as to the reasonableness of the proposed sentence

– the fact that the Sentencing Commission has proposed institutionalizing the type of variance

that he is seeking.

                                            Respectfully submitted,

                                             s/ Michael C. Holley
                                             MICHAEL C. HOLLEY (BPR # 021885)
                                             Assistant Federal Public Defender
                                             810 Broadway, Suite 200
                                             Nashville, Tennessee 37203
                                             (615) 736-5047

                                            Attorney for James McWhorter

                                CERTIFICATE OF SERVICE

      I hereby certify that on December 13, 2016, I electronically filed the foregoing
Defendant’s Supplemental Sentencing Memorandum with the U.S. District Court Clerk by using
the CM/ECF system, which will send a Notice of Electronic Filing to the following: S. Carran
Daughtrey, Assistant United States Attorney, 110 Ninth Avenue South, Suite A961, Nashville,
TN 37203.


                                             s/ Michael C. Holley
                                             MICHAEL C. HOLLEY




                                                2




    Case 3:16-cr-00162 Document 26 Filed 12/13/16 Page 2 of 2 PageID #: 108
